

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-73,965-02






SAMUEL RICHMOND WALKER, Relator


v.


 HON. MARK KENT ELLIS, JUDGE OF THE 351ST DISTRICT COURT,
Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 943669
			

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court. In it, he contends that he filed an application for a writ of
habeas corpus in the 351st District Court of Harris County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court. Relator contends that the district court
entered an order designating issues on September 8, 2011.

	 Respondent, the Judge of the 351st District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application. In the
alternative, Respondent may resolve the issues set out in its order and then have the District Clerk
submit the record on such application. In either case, Respondent's response shall be submitted
within 30 days of the date of this order. This application for leave to file a writ of mandamus will
be held in abeyance until Respondent has submitted his response.


Filed: April 18, 2012

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